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                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION

                                   DOCKET NO. 5:14cr72-RLV

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )       ORDER OF FORFEITURE
                                              )
       v.                                     )
                                              )
GERMAINE WOODLEY,                             )
                                              )
                      Defendant.              )


       In the Bill of Indictment in this case, the United States sought forfeiture of property that

was proceeds and/or was used or intended to be used to facilitate the crimes charged, which would

be subject to forfeiture under 21 U.S.C. § 853.

       Defendant entered into a plea agreement; subsequently pled guilty to Count One in the Bill

of Indictment; and was adjudged guilty of the offense charged in that count.

       Based upon Defendant’s plea of guilty, stipulated Factual Basis, and Affidavit of Special

Agent Chris Morgan submitted by the United States, the Court finds that the sum of $1,225,000

was reasonably foreseeable to Defendant, representing criminal proceeds.

       It is therefore ORDERED that Defendant shall forfeit the sum of $1,225,000.



                                    Signed: March 28, 2016




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